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 s                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11           STATES OF AMERICA,                  Case No.: o~ ~ ~8'CR
                                                                    ' O lo?$ -SFW - I
12                           Plaintiff,          ORDER OF DETENTION AFTER
                                                 HEARING
13                vs.                            [Fed. R. Crim. P. 32.1(a)(6); 18 U.S.C.
                                                  § 3143(a)]
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15     ►~1r,~,•l 1-1~►.a~~,.. Defendant.
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17       The defendant having been arrested in this District pursuant to a warrant issued
18    the United States District Court for the   Cen~,ra~ Ui~,~.     ('_ A                  ,
19   • alleged violations) of the terms and conditions of his/her [probation] [supervised
20   ease]; and
21       The Court having conducted a detention heaxing pursuant to Federal Rule of
22   iminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
23       The Court finds that:
24      J~ The defendant has not met his/her burden of establishing by cleax and
25       convincing evidence that he/she is not likely to flee if released under 18 U.S.C. §
26       3142(b) or (c). This finding. is based on ~,~,~a,,~}~ alleeo~i~ c Irk, o~
27        via~d►e s~G~ ~ s~bs~o~r,c.~ n1~~s-e           ~s~ e~ ~'m1s~ ID s
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Case 2:18-cr-00128-JFW Document 46 Filed 01/21/21 Page 2 of 2 Page ID #:251


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 3       and/or
 4       ~'T'he defendant has not met his/her burden of establishing by clear and
 5       convincing evidence that he/she is not likely to pose a danger to the safety of any
 6       other person or the community if released under 18 U.S.C. § 3142(b)or (c). This
 7       finding is based on o r4~~ra s~1~~ o~~ u               cn,c•,ira~
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13       IT THEREFORE IS ORDERED that the defendant be detained pending further
14       ~tion proceedings.
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16 SATED:         ~ la t la S                      ~v •~v ~
17                                               STATES MAGISTRATE JUDGE
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